                                                                                                                   UST-10 COVER SHEET

                                            MONTHLY FINANCIAL REPORT FOR
                                          CORPORATE OR PARTNERSHIP DEBTOR

 Case No.                 20-42349-BDL                                  Report Month/Year                November 2020

 Debtor                  Shilo Inn, Nampa Suites, LLC
                        ___________________________


INSTRUCTIONS: The debtor’s monthly financial report shall include a cover sheet signed by the debtor and all UST forms and
supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to comply with the reporting requirements
of Local Bankruptcy Rule, or the United States Trustee’s reporting requirements, is cause for conversion or dismissal of the case.


The debtor has provided the following with this monthly financial report:                                                            Yes      No

UST-12             Comparative Balance Sheet or debtor’s balance sheet.                                                               x
                   The debtor’s balance sheet, if used, shall include a breakdown of pre- and post-petition liabilities. The
                   breakdown may be provided as a separate attachment to the debtor's balance sheet.


UST-13             Comparative Income Statement or debtor’s income statement.                                                         x

UST-14             Summary of Deposits and Disbursements                                                                               x


UST-14             Statement(s) of Cash Receipts and Disbursements                                                                     x
Continuation       A Continuation Sheet shall be completed for each bank account or other source of debtor funds and shall
Sheets             include a monthly bank statement and all supporting documents descr bed in the instructions.


UST-15             Statement of Aged Receivables                                                                                      x
                   A detailed accounting of aged receivables shall be provided on, or in an attachment to, UST-15.


UST-16             Statement of Aged Post-Petition Payables                                                                           x
                   A detailed accounting of aged post-petition payables shall be provided on, or in an attachment to, UST-16.


UST-17             Other Information                                                                                                            x
                   When applicable, attach supporting documents such as an escrow statement for the sale of real property or an
                   auctioneer’s report for property sold at auction. When changes or renewals of insurance occur, attach a copy
                   of the new certificate of insurance or a copy of the bond.




CONTACT INFORMATION

Who is the best person to contact if the UST has questions about this report?
                   Name                          Larry Chank
                   Telephone                     1-760-702-4085
                   Email                         larry.chank@shiloinns.com




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                                                                           Case Number       20-42349-BDL
      Debtor         Shilo Inn, Nampa Suites, LLC                          Month Ending      November 2020



                                                UST-12, COMPARATIVE BALANCE SHEET



                                             As of month ending
 ASSETS
        Current Assets
             Cash
                   Cash - Held by Others
                   (Escrow & Attorney Trust Accounts)
             Accounts Receivable (net)
             Notes Receivable
             Inventory
             Prepaid Expenses
             Other (attach list)
        Total Current Assets
        Fixed Assets
             Real Property/Buildings
             Equipment
             Accumulated Depreciation
        Total Fixed Assets
        Other Assets (attach list)
 TOTAL ASSETS


 LIABILITIES
        Post-Petition Liabilities
             Taxes Payable
             Other Accounts Payables
             Notes Payable
             Rents, Leases & Mortgages Payable
             Accrued Interest
             Other (specify)
        Total Post-Petition Liabilities


                                                         (cont’d. on next page)




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      Debtor          Shilo Inn, Nampa Suites, LLC                        Month Ending      November 2020

                                          UST-12, COMPARATIVE BALANCE SHEET (contd.)



                                              As of month ending
        Pre-Petition Liabilities
            Unsecured Debt
            Priority Debt:
                        Taxes
                        Wages
                        Deposits
                        Other
            Notes Payable (Secured Debt)
        Total Pre-Petition Liabilities
 TOTAL LIABILITIES


 EQUITY
         Stockholders' Equity (Or Deficit)
            Capital Stock
            Paid-In Capital
            Retained Earnings
         Total Stockholder’s Equity (Or Deficit)


         Partner’s Investment (Or Deficit)
 TOTAL LIABILITIES AND STOCKHOLDERS
 EQUITY OR PARTNERS INVESTMENT



 Footnotes to balance sheet:


        See attached UHSRUW




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                                                                            Case Number        20-42349-BDL
      Debtor          Shilo Inn, Nampa Suites, LLC                          Month Ending       November 2020

                                      UST-13, COMPARATIVE INCOME STATEMENT



                                        For the month of
  GROSS SALES
  Less:       Returns and Allowances
  Net Sales
          Cost of Sales:
          Beginning Inventory
          Add:     Purchases
          Less: Ending Inventory
  Cost of Goods Sold
  GROSS MARGIN
  Other Operating Expenses:
             Officers' Salaries
             Other Salaries/Direct Labor
             Employee Benefits/Payroll Taxes
             Insurance
             Rent
             General and Administrative
  NET OPERATING PROFIT (LOSS)
  Add:        Other Income
  Less:      Interest Expense
  Other Adjustments to Income (Explain)
  Gain (Loss) on Sale of Assets
  Net Profit (Loss) Before Taxes
  Income Taxes
  NET PROFIT (LOSS)


 Notes:

              See attached excel spreasheet




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                                                                                   Case Number                     20-42349-BDL
      Debtor       Shilo Inn, Nampa Suites, LLC                                    Month Ending                    November 2020

                                       UST-14, SUMMARY OF DEPOSITS & DISBURSEMENTS


 INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare a UST-14 CONTINUATION SHEET (see next page) for each bank account
 or other source of the debtor's funds. The deposit and disbursement total from each CONTINUATION SHEET will be used to complete this
 SUMMARY.

 The debtor is responsible for providing an accurate monthly disbursement total for the purpose of calculating its obligation pursuant to 28 U.S.C.
 Sec. 1930 (a)(6) to pay statutory fees to the United States Trustee. The disbursement total encompasses all payments made by the
 bankruptcy estate during the reporting month, whether made directly by the debtor or by another party for the debtor. It includes checks written
 and cash payments for inventory and equipment purchases, payroll and related taxes and expenses, other operating costs, and debt reduction.
 It also includes payments made pursuant to joint check arrangements and those resulting from a sale or liquidation of the debtor’s assets. The
 only transactions normally excluded from the disbursement total are transfers within the same reporting month between multiple debtor
 accounts.

 A fee payment is due within 30 days after the end of each calendar quarter, or on April 30, July 31, October 31, and January 31, respectively.
 Since the amount billed is an estimate, the debtor is responsible for paying the correct statutory fee based on its actual disbursements for the
 calendar quarter, or portion thereof the debtor was in Chapter 11. Failure to pay statutory fees to the United States Trustee is cause for
 conversion or dismissal of the case. If you have questions computing the disbursement total, contact the Bankruptcy Analyst assigned to your
 case at (206) 553-2000.


  Summary of Deposits This Month

  Deposits from UST-14 Continuation Sheet(s)                                                                236,959.63
  Cash receipts not included above (if any)                                                                       0.00

                                                                      TOTAL RECEIPTS                         236,959.63

  Summary of Disbursements This Month

  Disbursements from UST-14 Continuation Sheet(s)                                                           152,098.20
  Disbursements resulting from asset sales out of the ordinary course
  (see Page 13, Question 1)                                                                                          0.00
  Disbursements made by other parties for the debtor (if any, explain)                                              0.00
                                                                                                   Note: Enter the amount for TOTAL
                                                                                                   DISBURSEMENTS here and on Page 2.



                                                            TOTAL DISBURSEMENTS                              152,098.20
  NET CASH FLOW (TOTAL RECEIPTS MINUS TOTAL
  DISSBURSEMENTS)                                                                                             84,861.43

  At the end of this reporting month, did the debtor have any delinquent statutory fees owing to the United States
     Trustee?      Yes         No xIf Yes, list each quarter that is delinquent and the amount due.



                           (UST-14 CONTINUATION SHEETS, with attachments, should follow this page.)




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   Debtor       Shilo Inn, Nampa Suites, LLC                          Month Ending                November 2020


                                     UST-14, CONTINUATION SHEET
                            STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS




INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting
documents as indicated on the checklist below.




Depository (bank) name                            JP Morgan Chase Bank, N.A., account number ending 0880
Account number

Purpose of this account (select one):
X General operating account

   General payroll account
   Tax deposit account (payroll, sales, gambling, or other taxes)
   Other (explain)



Beginning cash balance                                                                            28,387.83
         Add:              Transfers in from other estate bank accounts                            0.00

                           Cash receipts deposited to this account                                 70,419.17

                           Financing or other loaned funds (identify source)                       0.00

Total cash available this month                                                                    98,807.00
         Subtract:         Transfers out to other estate bank accounts                             0.00
                           Cash disbursements from this account
                           (total checks written plus cash withdrawals, if any)                    (98,802.00)


Adjustments, if any (explain)

Ending cash balance                                                                                5.00


Does this CONTINUATION SHEET include the following supporting documents, as required:                          Yes      No

         A monthly bank statement (or trust account statement);                                                  x
         A detailed list of receipts for that account (deposit log or receipts journal);                         x
         A detailed list of disbursements for that account (check register or disbursement journal);             x
         and,
         If applicable, a detailed list of funds received and/or disbursed by another party for the              x       x
         debtor.




                                 UST-14 CONTINUATION SHEET, Number               1        of     3




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                                                                      Case Number                  20-42349-BDL
   Debtor       Shilo Inn, Nampa Suites, LLC                          Month Ending                    November 2020

                                     UST-14, CONTINUATION SHEET
                            STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS




INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting
documents as indicated on the checklist below.




Depository (bank) name                           US Bank,Estate of Shilo Inn Nampa Suites LLC
Account number                                   Debtor in Possession, account ending 4043

Purpose of this account (select one):
X General operating account
   General payroll account
   Tax deposit account (payroll, sales, gambling, or other taxes)
   Other (explain)



Beginning cash balance                                                                             0.00

         Add:              Transfers in from other estate bank accounts                            0.00
                           Cash receipts deposited to this account                                166,540.46
                           Financing or other loaned funds (identify source)                       0.00
Total cash available this month

         Subtract:         Transfers out to other estate bank accounts

                           Cash disbursements from this account
                           (total checks written plus cash withdrawals, if any)                (53,296.20)


Adjustments, if any (explain)

Ending cash balance                                                                              113,244.26


Does this CONTINUATION SHEET include the following supporting documents, as required:                          Yes      No

         A monthly bank statement (or trust account statement);                                                 x
         A detailed list of receipts for that account (deposit log or receipts journal);                        x
         A detailed list of disbursements for that account (check register or disbursement journal);            x
         and,
         If applicable, a detailed list of funds received and/or disbursed by another party for the             x        x
         debtor.




                                 UST-14 CONTINUATION SHEET, Number              1         of     19




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      Debtor           Shilo Inn, Nampa Suites, LLC                         Month Ending                 November 2020

                                          UST-14, SUMMARY OF DISBURSEMENTS (cont’d.)

Payments on Pre-Petition Unsecured Debt (requires court approval)
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month on
    pre-petition unsecured debt?         Yes               No           If Yes, list each payment.

                                                                                                  Payment           Date of court
           Payee name                               Nature of payment       Payment date          amount             approval




Payments to Attorneys and Other Professionals (requires court approval)
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to a
    professional such as an attorney, accountant, realtor, appraiser, auctioneer, business consultant, or other
    professional person?         Yes              No
If Yes, list each payment.

                                                                                                  Payment           Date of court
        Professional name                        Type of work performed     Payment date          amount             approval




Payments to an Officer, Director, Partner, or Other Insider of The Debtor
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to an
    officer, director, partner, or other insider of the debtor?  Yes             No               If Yes, list each
    payment.

                                                                                                  Payment            Purpose of
           Payee name                             Relationship to debtor    Payment date          amount              payment




INSTRUCTIONS: Use the last column to describe the purpose of each payment, such as gross wages or salary, reimbursement for business
expenses, loan repayment, advance, draw, bonus, dividend, stock distribution, or other reason for the payment (explain).




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     Debtor         Shilo Inn, Nampa Suite, LLC                                  Month Ending                  November 2020

                                           UST-15, STATEMENT OF AGED RECEIVABLES


INSTRUCTIONS: Complete all portions of UST-15, STATEMENT OF AGED RECEIVABLES, unless the debtor asserts the following two
statements are true for this reporting month:

           1)         At the beginning of the reporting month, the debtor did not have any uncollected receivables from prior months
                      which includes both pre-petition and post-petition accounts receivable; and,
           2)         During the reporting month, the debtor did not have any receivables activity, including the accrual of new
                      accounts receivable, or the collection or writeoff of accounts receivable from prior months.

Check here     if the debtor asserts that both statements are correct and skip to UST-16, STATEMENT OF POST-PETITION PAYABLES, on
the next page.



Accounts Receivable Aging

                         Balance at                Current         Past due           Past due             Past due          Uncollectible
                         month end                 portion        31-60 days         61-90 days          over 90 days        receivables

Pre-petition
receivables
                       4,210.92                  0.00            235.44              3,575.88              399.60              0.00

Post-petition
                       66,563.61                64,291.76        2,271.85            0.00                 0.00                0.00
receivables


TOTALS                 70,774.53                64,291.76        2,507.29           3,575.88              399.50               0.00

Explain what efforts the debtor made during this reporting month to collect receivables over 60 days past due.




Does the debtor have any accounts receivable due from an officer, director, partner, or other insider of the debtor?
           If yes, explain.




Accounts Receivable Reconciliation

Closing balance from prior month                                                     53,145.48
New accounts receivable added this month                                             64,291.76
Subtotal                                                                          117,437.24
Less accounts receivable collected                                                 (46,662.71)
Closing balance for current month                                                    70,774.53




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     Debtor        Shilo Inn, Nampa Suites, LLC                                   Month Ending                   November 2020

                                      UST-16, STATEMENT OF POST-PETITION PAYABLES
                                                     PART A - TAXES


INSTRUCTIONS:         Complete both pages of PART A - TAXES unless the debtor asserts the following statement is true for this reporting month:

           At the end of this reporting month, the debtor did not have any unpaid post-petition taxes which includes both current and
           delinquent tax obligations.

Check here      if the debtor asserts the statement is correct, and skip to PART B - OTHER PAYABLES on Page 10.




Reconciliation of Unpaid Post-Petition Taxes
                                                   (1)                    (2)                         (3)                       (4)
                                                                                                                       Unpaid post-petition
                                        Unpaid post-petition     Post-petition taxes          Post-petition tax           taxes at end of
                                         taxes from prior        accrued this month         payments made this           reporting month
           Type of tax                   reporting month          (new obligations)           reporting month          (Column 1+2-3 = 4)

                                                                Federal Taxes

Employee withholding taxes                                        2,281.90                      2,281.90                     0.00
FICA/Medicare--Employee                                           1,994.77                      1,994.77                    0.00
FICA/Medicare--Employer                   1,287.90                1,994.77                       0.00                      3,282.67
Unemployment                               17.04                      26.97                      0.00                       44.01
                                                                 State Taxes

Dept. of Revenue                           253.00                    453.00                     253.00                      453.00
Dept. of Labor & Industries                    81.72                     0.00                     0.00                        81.72
Empl. Security Dept.                                                  143.31                                                  143.31
                                                                 Other Taxes

Local city/county

Gambling

Personal property

Real property

Other :ID State Hotel taxes              8,494.86                 6,823.03                     8,494.86                     6,823.03
                                                                                Total Unpaid Post-Petition Taxes      $
                                                                                                                           10,827.74




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     Debtor         Shilo Inn, Nampa Suites, LLC                          Month Ending          November 2020

                                      UST-16, STATEMENT OF POST-PETITION PAYABLES
                                                  PART A - TAXES (cont’d.)


Delinquent Tax Reports and Tax Payments (post-petition only)
       Taxing agency                  Tax reporting period    Report due date     Payment due date     Amount due

     none




Explain the reason for any delinquent tax reports or tax payments:




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     Debtor         Shilo Inn, Nampa Suites, LLC                                 Month Ending                  November 2020

                                      UST-16, STATEMENT OF POST-PETITION PAYABLES
                                                 PART B - OTHER PAYABLES


INSTRUCTIONS:          Complete both pages of PART B - OTHER PAYABLES unless the debtor asserts that this statement is true for this
reporting month:

           Except for taxes and professional fees disclosed in PART A and PART C of this report, respectively, the debtor has no other
           unpaid post-petition payables from the current reporting month, or from any prior reporting months.

Check here      if the debtor asserts the statement is correct, and skip to PART C - ESTIMATED PROFESSIONAL FEES on Page 12.




Reconciliation of Post-Petition Payables (excluding taxes and professional fees)

Closing balance from prior month                                                                         22,068.35
New payables added this month                                                                            48,651.69
           Subtotal                                                                                      69,384.44
Less payments made this month                                                                           (37,788.10)
Closing balance for this reporting month                                                     $           32,931.94

Breakdown of Closing Balance by Age

Current portion                                                                                               9,527.99
Past due 1-30 days                                                                                          23,403.95
Past due 31-60 days

Past due 61-90 days

Past due over 90 days

Total                                                                                        $         32,931.94
For accounts payable more than 30 days past due, explain why payment has not been made:




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                                                                                Case Number                    20-42349-BDL
      Debtor        Shilo Inn, Nampa Suites, LLC                                Month Ending                    November 2020

                                       UST-16, STATEMENT OF POST-PETITION PAYABLES
                                              PART B - OTHER PAYABLES (contd.)


INSTRUCTIONS: List each post-petition payable delinquent more than 30 days. Alternatively, attach the debtor’s accounts payable aging
report if the report: 1) clearly separates pre-and post-petition accounts payable, and, 2) identifies each delinquent payable by vendor name,
invoice date, invoice amount, and payment due date.


Delinquent Post-Petition Payables (excluding taxes and professional fees)


Vendor name                                                       Invoice date             Invoice amount            Payment due date

      none




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                                                                               Case Number                 20-42349-BDL
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                                       UST-16, STATEMENT OF POST-PETITION PAYABLES
                                          PART C - ESTIMATED PROFESSIONAL FEES



INSTRUCTIONS: Report only post-petition professional fees and expenses. To the extent possible, use billing statements to report the
actual amounts due. If billing statements are not available, use the best information available to estimate the fees and costs.




                                                                                                                    Total estimated
                                                Amount of retainer   Fees and expenses    Fees and expenses       fees and expenses
Type of professional                              (if applicable)     from prior months    added this month          at month end

Debtor’s counsel

Debtor’s accountant

Debtor’s other professional (explain)


Trustee’s counsel

Creditors’ Committee Counsel

Creditors’ Committee other
professional (explain)

Total estimated post-petition professional fees and costs                                                        $




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                                                                                  Case Number                20-42349-BDL
     Debtor      Shilo Inn, Nampa Suites, LLC                                     Month Ending               November 2020

                                                         UST-17, OTHER INFORMATION


INSTRUCTIONS: Answer each question fully and attach additional sheets if necessary to provide a complete response.          Yes      No

Question 1 - Sale or Abandonment of the Debtor’s Assets. Did the debtor, or another party on                                           x
behalf of the debtor, sell, transfer, or otherwise dispose of any of the debtor’s assets during the
reporting month? Include only sales out of the ordinary course. The debtor must attach an escrow
statement for each sale of real property and an auctioneer's report for each auction.
                                                                                                       Escrow Statement
Asset               Date of                Method of              Gross            Net Proceeds           or Auctioneer’s
Description         Court Approval         Disposition            Sales Price      Received (&Date)      Report Attached?

1.

2.

3.

4.

5.

                                                         Total

Any disbursements made from escrow or trust accounts from the proceeds of the above transactions should also be
included on the line of UST-14 entitled "Disbursements from sales out of the ordinary course."


Question 2 - Financing. During the reporting month, did the debtor receive any funds from an                                           x
outside funding source?
            Date of Court Approval                                                          Amount            Source of
                                                                                            funds             Date
                                                                                            Received




                                   Total


Question 3 - Insider Loans/Capital Contributions. During the reporting month, did the debtor                                           x
receive any funds from an officer, director, partner, or other insider of the debtor?

            Date of Court Approval                                                          Amount            Source of
                                                                                            funds             Date
                                                                                            Received




                                 Total




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                                                     UST-17, OTHER INFORMATION


                                                                                                                          Yes       No

Question 4 - Insurance and Bond Coverage.                       Did the debtor renew, modify, or replace any                          x
insurance policies during this reporting month?
Renewals:
     Provider                             New Premium                    Is a Copy Attached to this Report?



Changes:
     Provider                             New Premium                    Is a Copy Attached to this Report?




Were any insurance policies canceled or otherwise terminated for any reason during the reporting
month? If yes, explain.
                                                                                                                                      x



Were any claims made during this reporting month against the debtor’s bond?                      Answer No if the
debtor is not required to have a bond. If yes, explain.                                                                               x




Question 5 - Personnel Changes.                    Complete the following:
                                                                                           Full-time                  Part-time
Number of employees at beginning of month                                                  17                        4
Employees added                                                                              3                       0
Employees resigned/terminated                                                                0                       0
Number employees at end of month                                                            20                       4
                                                                   Gross Monthly Payroll and Taxes              $ 32,385.76
Question 6 - Significant Events.                Explain any significant new developments during the reporting month.




Question 7 - Case Progress. Explain what progress the debtor made during the reporting month toward
confirmation of a plan of reorganization.




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